       Case 1:23-cr-00229-CJN          Document 102         Filed 02/26/25      Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                         *
                                                 *
                     vs.                         *      Case No. 23-cr-00229-CJN
                                                 *
TAYLOR TARANTO,                                  *
         Defendant                               *
                                                 *

                                              ooOoo

                    CONSENT MOTION TO EXTEND THE TIME FOR
                      FILING ADDITIONAL PRETRIAL MOTIONS

       Taylor Taranto, by his undersigned counsel, hereby respectfully moves this Honorable Court

to extend the time for the parties to file additional motions for two weeks from February 28, 2025

to and including March 14, 2025; oppositions to be filed on March 28, 2025; and replies on April 4,

2025. AUSA Jennifer Blackwell consents to this request.


                                                      Respectfully submitted,

                                                      /s/ Carmen D. Hernandez
                                                      Carmen D. Hernandez
                                                      Bar No. MD 03366
                                                      7166 Mink Hollow Rd
                                                      Highland, MD 20777
                                                      240-472-3391
                                                      chernan7@aol.com

                                 CERTIFICATE OF SERVICE

       I hereby certify that the instant notice was served via ECF on all counsel of record this 26th
day of February, 2025.



                                                      /s/ Carmen D. Hernandez
                                                      Carmen D. Hernandez
